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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                          LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
        Plaintiff,                                   )
                                                     )           No. 6:22-CR-2-REW-HAI-3
 v.                                                  )
                                                     )
 CLARENCE EGNER,                                     )                       ORDER
                                                     )
        Defendant.                                   )
                                                     )
                                                     )
                                           *** *** *** ***

        After conducting Rule 11 proceedings, see DE 91 (Minute Entry), Judge Ingram recommended that

the undersigned accept Defendant Clarence Egner’s guilty plea and adjudge him guilty of Count One of the

Second Superseding Indictment (DE 43). See DE 92 (Recommendation); see also DE 90 (Plea Agreement).

Judge Ingram expressly informed Defendant of his right to object to the recommendation and to secure de

novo review from the undersigned. See DE 92 at 2-3. The established three-day objection deadline has

passed, and no party has objected.


        The Court is not required to “review . . . a magistrate [judge]’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.

466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019) (quoting Kensu v. Haigh,

87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the Sixth Circuit has “long held that,

when a defendant does ‘not raise an argument in his objections to the magistrate [judge]’s report and

recommendation he has forfeited his right to raise this issue on appeal.’”); United States v. Olano, 133 S.

Ct. 1770, 1777 (1993) (distinguishing waiver and forfeiture); FED. R. CRIM. P. 59(b)(2)-(3) (limiting de

novo review duty to “any objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those

portions” of the recommendation “to which objection is made”).
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        The Court thus, with no objection from any party and on full review of the record, ORDERS as

follows:


        1. The Court ADOPTS DE 92, ACCEPTS Defendant’s guilty plea, and ADJUDGES

            Defendant guilty of Count One of the Second Superseding Indictment (DE 43);

        2. The Court CANCELS the jury trial only as to this Defendant 1; and

        3. The Court will issue a separate sentencing order.

        This the 20th day of September, 2022.




1
 Judge Ingram remanded Egner to custody post-plea, which preserved his status following arraignment. See DE 91
& DE 28. As such, Egner will remain in custody pending sentencing, subject to intervening orders.
